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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Richmond Division

    RODNEY K. ADAMS, et al.,
        Appellants,
              v.                                                  Civil No. 3:22cv237 (DJN)
    LYNN L. TAVENNER, as Chapter 7
    Trustee,
           Appellee.

                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                          Richmond Division


    In re:                                                                 Case No. 19-34574-KRH
               LeClairRyan, PLLC, 1

               Debtor                                                      Chapter 7



                            TRUSTEE’S PLEADINGS PURSUANT TO
                        MEMORANDUM ORDER ENTERED AUGUST 16, 2023


              Coms now Lynn L. Tavenner, Trustee, and not individually but solely in her capacity as

        the Chapter 7 trustee (in such capacity, the “Chapter 7 Trustee” and/or the “Trustee”) of the

        bankruptcy estate (the “Estate”) of LeClairRyan PLLC (“LeClairRyan” and/or the “Debtor”),

        in the above-referenced Chapter 7 case (the “Case”), by counsel, and reports to this Court as



    1
      The principal address of the Debtor as of the petition date was 4405 Cox Road, Glen Allen, Virginia 23060, and the
    last four digits of the Debtor’s federal tax identification number are 2451.


Paula S. Beran, Esquire (Va. Bar No. 34679)
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20 North Eighth Street, Second Floor
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 directed in this Court’s Memorandum Order [Docket No. 30] (the “August Memorandum

 Order”) entered on August 16, 2023. Specifically, the Court directed:


               No later than Thursday, August 24, 2023, the parties shall file pleadings
               regarding whether they intend to move forward with the proposed
               settlement absent the stricken provisions. In the pleadings, the parties
               shall also address the implications of their decisions on whether the
               parties need to notify the Fourth Circuit to lift, or keep, the stay on
               Plaintiffs pending appeal. Additionally, the pleadings should also
               address the implications of withdrawing the reference on the pending
               remand to the Bankruptcy Court to amend its earlier order regarding
               the ESH List.


On August 22, 2023, this Court issued its Memorandum Opinion [Docket No. 31] (the “August

Memorandum Order”) wherein it detailed the Court’s rationale for the rulings contained in the

August Memorandum Order. In response to the Court’s directive in the August Memorandum

Order, the Trustee respectfully responds as follows:

              Intention on Whether Moving Forward with Revised Settlement

       The Trustee believes it could be beneficial to the interest of the Estate to resolve the

pending proof of claim filed by Mr. LeClair by way of seeking approval of the settlement

agreement as modified by this Court. Given the same, immediately after the hearing on July 27,

2023 (the “July 27 Hearing”) before this Honorable Court and the Honorable Kevin R.

Huennekens of the United States Bankruptcy Court for the Eastern District of Virginia (the

“Bankruptcy Court”), the Trustee ordered the transcript of said hearing. Upon receiving the

transcript on July 31, 2023, the Trustee read the same, contacted the Office of the United States

Trustee (“UST”) about matters involving the same, and directed counsel to determine if the

proposed settlement agreement (the “Initial Settlement Agreement”) attached to her Motion to

Approve Compromise under FRBP 9019 [ECF No. 1900] (the “9019 Motion”) could be revised
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is such a fashion manner that both incorporated your Honor’s directives at the July 27 Hearing

and would be acceptable to Mr. LeClair. And, the Trustee was and remains pleased that the

parties have an acceptable settlement agreement, that both parties believe is consistent your

Honor’s directive.

       However, always striving to be forthright and candid with this Court, as well as all courts

that the Trustee and/or her counsel have ever appeared in, the Trustee must disclose that she has

not made a final decision. After having recently received and read the August Memorandum

Opinion and having a better understanding of the Court’s decision, as required by what this

Court in that August Memorandum Opinion referred to as “her unique position” and “attendant

responsibilities,” the Trustee is weighing the interests of the Estate in taking other action,

including but not limited to an appeal and/or motion to reconsider. As stated by this Honorable

Court at the July 27 Hearing, “If they don’t my opinions, they appeal to the Fourth Circuit . . .”

p. 4. With all due respect to this Honorable Court, the Trustee does not like the Memorandum

Opinion and maintains that the ruling is neither supported by actual facts nor the correct legal

analysis. But given her unique position and attendant responsibilities, the Trustee’s analysis must

also involve an informed decision in the exercise of her business judgement as to what is in the

best interest of the Estate. In hopes that this Court will better understand the Trustee’s position,

the Trustee provides additional background.

       The Trustee and the undersigned have been members of the bar of this Court for more

than thirty years each and have conducted their entire legal careers from offices here in

Richmond, serving as judicial law clerks and the undersigned also serving on staff counsel to the

Fourth Circuit Court of Appeals, and then both accepting every opportunity to serve as stewards

of an honest and much needed bankruptcy system not only as attorneys but also as trustee
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fiduciaries, one as a Chapter 7 Trustee and the other as a Subchapter V Trustee. We have also

worked within various bars and the community to promote and protect the judicial process. In

each and every role, we have attempted to proceed with the utmost integrity as well as with

exceptional legal competence. And we had thought we had always met that high benchmark we

set especially given that we have, over the years, been asked to assist court personnel and/or their

family members from within the judicial system such as the Fourth Circuit Court of Appeals and

the Virginia Supreme Court, and even from within this very building your Honor referenced at

the July 27 Hearing. We are extremely proud of our reputation .Needless to say, we were, and

are, enormously troubled by the remarks directly pointed at us during the July 27 Hearing and

were especially distraught to think that any judge would consider any action we have ever taken

to be offensive or unseemly.

        Expecting that no Court would ever be thrilled by a vacatur request, the Trustee took

great pains to ensure that nothing in the proposed settlement was contrary to the prior rulings of

this Court. In fact, as indicated by counsel in Court, she believes the opinions as written are

accurate. But in the exercise of her fiduciary duty to the creditors of this Estate, she also believes

that given that there is little precedential value in the opinions given the unique contract at issue

that is the primary subject of all opinions, (there is no other contract like the one at issue!), this is

the extraordinary case in which vacatur would be justified. To be sure, she and her counsel

appreciate all of the time and effort expended by the judiciary and do not intend to disrespect the

sanctity of the judicial process in any way. Indeed, they were shocked and devastated to hear

that the Court believes they have in some way denigrated the sanctity of the Court that they have

worked so hard to defend and protect over our years in practice. And unlike ill-suited instances

where vacatur is sought at the end of hard- fought litigation between two adversaries who just
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want the ruling gone and do not avail themselves of their appellate rights, in this instance, from

the Trustee’s perspective vacatur is very different because it would pave the way for the claims

resolution process and the an efficient windup of the administration of a bankruptcy estate

wherein the Trustee is the fiduciary for hundreds of constituents who at no fault of their own are

waiting patiently for a hopeful percentage recovery of the amounts they are due from the law

firm.

        The 9019 Motion was originally scheduled for hearing at the June 27, 2023 omnibus

hearing for the Case. Because Rule 2002 of the Federal Rules of Bankruptcy Procedure provide

for such hearings to ordinarily be scheduled on 21- days’ notice to parties in interest, the 9019

Motion also contained a request for the Court to shorten such notice period give that the 9019

Motion had been filed on June 13, 2023 (as soon as the practicable after the parties reached the

settlement during the mediation). When the matter was called, Judge Huennekens first expressed

concern with respect to the notice and whether or not relevant parties had received the same.

While counsel assured the Court that all parties had received notice, Judge Huennekens

expressed his concern that all equity security holders have ample time to consider the impact of

the 9019 Motion. Even though counsel explained that there would be no negative impact, Judge

Huennekens remained concerned.

               Specifically Judge Huennekens said:

                 THE COURT: I am very concerned about what is going on here and what
        is being requested. I'm unclear what I'm approving, whether it's a claim or some
        involvement with the Internal Revenue Service with regard to tax liability, which
        I don't believe is the case. In any event, I am very, very bothered about the
        shortening of time and whether the equity security holders understand that their
        ox may be being gored, and I don't know whether it is or not. That's a lot of what's
        going on here. So I'm going to deny the motion, Ms. Beran, to shorten time. I'm
        not going to address today the settlement agreement. I'm going to set that over to
        the July omnibus hearing date.
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       Transcript of June 27, 2023 Hearing, page 32 Line 21-25 and page 33 Line 1-6.



        While Judge Huennekens’ focus during the hearing was on the propriety of the notice and
the import of the agreement on other equity security holders, he also took the opportunity during
the hearing to advise that he had spoken with Judge Novak about the 9019 Motion and that Judge
Novak was focused on the settlement aspect whereby the parties would seek an indicative ruling
from him with respect to vacatur of his prior rulings. THE COURT: All right. So Judge Novak
has spoken to me about this matter, so I should put that on the record. First of all, he has no
problem or instant agreement that the 9019 matter is properly before this court as part of the
overall bankruptcy case and not part of the contested matter, which went up and that he
considered. However, he has let me know that there is absolutely no way he's going to amend or
modify his opinion or vacate his opinion or do anything in that regard. I don't know how that
affects anything that the trustee might want to do, but I thought that you should be aware of that.


       Transcript of June 27, 2023 Hearing Page 21, Lines 14 – 24.

               Counsel explained that vacatur was not a condition of the settlement and that the

settlement merely set up a process to make such a request. Judge Huennekens remained focused

on the notice and opportunity to be heard issues.

               In fact, at the conclusion of the hearing Judge Huennekens reiterated that he just

wanted to make sure potentially impacted parties had the ability to weigh in and once assured of

the same was inclined to approve the 9019 Motion

        THE COURT: For purposes of today, I'm denying the motion to shorten time. That's all
I'm doing. It will be set on twenty-one days' notice on the next omnibus hearing date when all
parties can be present and weigh in. And if you get the consent of all of the equity security
holders, Ms. Beran, it's extremely likely I'm going to approve this. But I just want to make sure
that everyone understands what's going on and everybody's on board.

       Transcript of June 27, 2023 Hearing Page 33 Lines 23 -25 and Page 34 Lines 1 -5.

       The Trustee and other equity security holders heard Judge Huennekens loud and clear.

The Trustee as evidenced by the additional notice filed served the equity security holders again.

And at the evidentiary hearing scheduled in July, twenty -six equity security holders appeared
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through counsel and one appeared in person. None objected and two responses were filed in

support. Sadly, none were provided to make statements to the Court.

       Thereafter, the Bankruptcy Court issued its Order (I) Denying Request to Shorten Time

and (II) Setting Evidentiary Hearing (the “Scheduling Order”) [ECF No. 1920] and the Trustee

abided by every aspect of the same. For example, the Trustee timely filed a Witness and Related

Declaration [ECF No.      ], where she stated, through counsel,

       It is anticipated that Ms. Tavenner’s direct testimony will be as reflected on (a) the
       below included Declaration of Lynn L. Tavenner, Trustee and (b) paragraphs 11
       through 18 of the declaration found in List of Witnesses and Related Declaration
       [ECF No. 1906]. In addition to these declarations, at the hearing held pursuant to
       the Scheduling Order, Ms. Tavenner’s testimony will be proffered consistent with
       the same. Rebuttal testimony will be as needed to clarify items raised during any
       cross examination.

Immediately thereafter, the document contained a Declaration of Lynn L. Tavenner, Trustee (the

“Tavenner July Declaration”).

       As this Honorable Court so aptly and excellently stated in its January 2023 Opinion

“[C]ourts cannot issue opinions that lack a concrete question presented or opine on future issues

not before the court. Courts ‘must wait until the case has ‘taken on fixed and final shape so that

[a court] can see what legal issues [it] is deciding, [and] what effect its decision will have on the

adversaries.”’ Trustgard Ins. Co. v. Collins, 942 F. 3d 195, 200 (4th Cir. 2019)(quoting Pub. Serv.

Comm’n of Utah v Wycoff Co., 344 U.S. 237, 244 (1952)) see also Gilles v Torgersen, 71 F.3d

497, 500 (4th Cir. 1985) (“Courts, however, must not deal in abstractions, for court can only

adjudicate actual cases, involving issues that are precisely framed by their connection to specific

litigants in a concrete context.)” The Trustee respectfully submits that this Court’s recent rulings

run afoul of the excellent January 2023 Opinion and are impermissible advisory opinions in that
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there neither a Rule 60 Motion nor a Motion for Indicative Ruling was pending. And the analysis

performed by the Court focused on the same.

       Out of the utmost respect for this Court and not wanting there to be any type of

appearance that the Trustee was arguing her basis for vacatur to the Bankruptcy Court before

addressing the same with this Court, these motions and the basis for the same were intentionally

not presented. Instead, the Trustee stated that the same would be filed with this Court should the

settlement be approved.

       Had the Court conducted the correct analysis for the motion that was “precisely framed

by their connection to specific litigants in a concrete context” and not opined on a future issue

that was stated would be before the Court, it had sufficient facts and legal authority to approve

the same. Bankruptcy Rule 9019(a) provides that “[o]n motion by the trustee and after notice

and a hearing, the court may approve a compromise or settlement.” Fed. R. Bankr. P. 9019(a).

Compromises and settlements are "a normal part of the process of reorganization." Protective

Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968)

(quoting Case v. L.A. Lumber Prods. Co., 308 U.S. 106, 130 (1939)). [H]owever, it is essential

that every important determination in reorganization proceedings receive the 'informed,

independent judgment' of the bankruptcy court." Id. (quoting Nat'l Sur. Co. v. Coriell, 289 U.S.

426,436 (1933)). To effectuate such a policy, Bankruptcy Rule 9019 allows a trustee to settle a

matter with the approval of the Court. Fed. R. Bankr. P. 9019. "The decision of the bankruptcy

judge as to the approval of a proffered compromise rests within the judge's own sound

discretion." Shaia v. Three Rivers Wood, Inc. (In re Three Rivers Wood, Inc.), Case No. 98-

68685-DOT, Adv. Pro. No. 99-3020-DOT, 2001 WL 720620, at *4, 2001 Bankr. LEXIS 737, at
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*12-13 (Bania·. E.D. Va. Mar. 20, 2001) (citing In re Sapphire S.S. Lines, Inc., 339 F. Supp. 119

(S.D.N . 1972); In re Ira Haupt & Co., 252 F. Supp. 339 (S.D.N.Y. 1966)).

        In determining whether a proposed compromise and settlement is fair and equitable,

courts in this District consider the following factors: (a) “the probability of success in litigation;

(b)“potential collection struggles;” (c) “the complexity, time and expense involved in litigating

the matter;” and (d) “the interests of the creditors.” Loudoun Heights, 2014 WL 2928110, at *9

(citations omitted); Three Rivers Wood, 2001 WL 720620, at *6 (same). Additionally, the Court

must determine whether the proposed settlement is in the best interests of the Estate. Three

Rivers Wood, 2001 WL 720620, at *6 (“a compromise or settlement will most likely gain

approval if is it both ‘fair and equitable,’ as well as representative of the best interests of the

estate as a whole”) (citations omitted); Frye, 216 B.R. at 174 (“In order to approve a

compromise, this court must look at various factors and determine whether the compromise is in

the best interest of the estate and whether it is fair and equitable.”); In re Energy Coop. Inc., 886

F.2d 921, 927 (7th Cir. 1989) (“The benchmark for determining the propriety of a bankruptcy

settlement is whether the settlement is in the best interests of the estate.”).

        The factors that courts consider to determine the best interests are similar to the factors to

determine whether the settlement is fair and equitable. See Parker v. Bullis (In re Bullis), 515

B.R. 284, 288 (Bankr. E.D. Va. 2014) (“The best interests of the estate are met by considering the

same factors a court considers in reviewing any proposed settlement: (1) the probability of

success on the merits in the litigation; (2) possible difficulties of collecting any judgment which

might be obtained; (3) the complexity, expense, and likely duration of any ensuing litigation; and

(4) the interests of the creditors, giving proper deference to their reasonable views.”) (Internal

citations omitted).
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       When reviewing a proposed settlement, the Court should consider the Trustee’s business

judgment and the opinions of the other parties to such settlement, and the Court should not

substitute its judgment for that of the Trustee. Indeed, the Court must determine “whether the

settlement falls below the lowest point in the range of reasonableness.” Three Rivers Wood, 2001

WL 720620, at *6 (quoting Austin, 186 B.R. at 400). Where a proposed settlement is not below

the lowest point of what is fair and reasonable and represents the best interests of the estate as a

whole, the court should approve it pursuant to Bankruptcy Rule 9019. Three Rivers Wood, 2001

WL 720620, at *6.

       In this instance the Trustee presented evidence through her Declarations to show that in

the exercise of her business judgment, the Settlement was fair and equitable, in the best interest

of the Debtor’s Estate and certainly not below the lowest range of reasonableness. No evidence

was presented in opposition. In fact, there were no objectors to the settlement and a majority of

the equity security holders through counsel filed pleadings in support. (Even one equity security

holder was in attendance at the July hearing in support of the Settlement.) The Settlement, if

effectuated as originally contemplated, would have resolved the claim of Mr. LeClair, which if

tried to conclusion would have taken many months and involved claims from the same contract

that currently are on appeal to the Fourth Circuit. It also paved the way for the administration of

remaining claims. Importantly, it likely would have resulted in the Case being fully administered

in 2024 which is in the best interest of creditors because allowed claims would be paid sooner

and likely in an amount greater than if the Settlement was not approved and effectuated. And

importantly, the Settlement did not include any element that was a contradiction to any prior

orders or opinions from the District or Bankruptcy Court.
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       Indeed, approval of the settlement would result in greater and more expedient

distributions to creditors, which factor alone weighs heavily in favor of approving the

Settlement Agreement. See In re Three Rivers Woods, Inc., 2001 WL 720620, at *7, 2001 Bankr.

LEXIS 737, at *20 ("The trustee owes a primary duty to the unsecured creditors, who favor and

will benefit from the proposed settlement."). There can be no dispute that the compromise was

fair and equitable to all constituents and in the best interests of the Estate and if the Court had

used the appropriate standard to consider the Rule 9019 settlement, it should have been

approved.

       In addition to the legal issues with the August Memorandum Opinion, it contains

inaccurate statements of fact. And had the Court conducted an actual hearing on the 9019

Motion and allowed any type of evidence to address a stated concern, it would have known that

the factual statement that the Trustee did no research on the correctness of the agreement before

moving forward is incorrect. To the contrary, the Trustee and counsel did extensive research.

And both the Trustee and counsel as each stood before this Court knew that the concept of

vacatur in the context of settlement is an acceptable practice in the Alexandria Division (and in

other courts around the country) and we knew that day the relevant standard that was a few

weeks later articulated by this Court August Memorandum. Standing before this Court on July

27, 2023, we, however, had no idea why it was perceived as unseemly and inappropriate in the

Richmond Division as indicated by this Honorable Court such that our very livelihood was

threatened. To reassure the UST that neither she nor any counsel she retained would ever

intentionally do anything unseemly and/or inappropriate , the Trustee, as indicated above, after

receiving a copy of the July 27, 2023, contacted the UST. That correspondence is attached hereto

as Exhibit A and B. As is evident from that correspondence, the Trustee was keenly aware of the
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relevant case law around the country and was very confused why this Court said “I never want to

see that again in our building. We don’t do that here.” p. 5 and “And we do not vacate – that

cannot be a condition in a settlement agreement is what I’m tell you, in this building. Vacating

opinions is not an option. . . . . They want to do that somewhere else, that’s up to them. We don’t

do that here” p. 9. As the Trustee, through counsel, reported on August 1, 2023 to the UST:

       Judge Ellis’ opinion is atached.

       We learned about the concept of vacatur in the context of setlement during the Fourth
       Circuit media�on, and we were speciﬁcally pointed to the Fourth Circuit docket for a
       case that had used the process to setle a mater that had been pending at the Fourth
       Circuit. It however was not an EDVA case. And, while the 4th Circuit has held that
       vacatur may be done through Rule 60 b (see Valero Terrestrial Corp. v. Paige, 211 F.3d
       112, 121 (4th Cir. 2000)), that case did not address vacatur in the context of setlements.
       So we researched further and found that the case that is most cited for the vacatur in
       the context of setlement and the relevant legal standard is Hartford Cas. Ins. Co. v. Crum
       & Forster Specialty Ins. Co., 828 F.3d 1331 (11th Cir. 2016) which followed and further
       explained the test that had been applied in much earlier circuit court cases of Motta v.
       Dist. Dir. Of INS., 61 F.3d 117 (1st Cir. 1995) and Major League Baseball Properties, Inc. v
       Paciﬁc Trading Cards, Inc. 150 F.3d 149 (2nd Cir. 1998). That delineated standard is
       excep�onal circumstances along with weighing the beneﬁts of setlement against the
       harm to the public. When addressing vacatur in the context of setlement, courts
       around the country consistently have (1) cited these cases and (2) u�lized the ar�culated
       test. As you will see in the atached opinion, Judge Ellis adopted and applied the test as
       ar�culated in Hartford Cas. Ins, Motta and Major League Baseball.

       And as you may recall from the Trustee’s original 9019 mo�on, we pointed to this
       standard right up front when we stated:

       24.      While not currently before this Court for approval, the Trustee acknowledges
       that a cri�cal aspect of the Setlement as it relates to the Appeal is the vacatur of certain
       court orders/opinions by this Court and the District Court. And, the Trustee appreciates
       that to prevail, the par�es will have to demonstrate excep�onal circumstances (among
       other things). The Trustee maintains that the same exists given the unique
       circumstances in this bankruptcy case. As such, she is prepared to move forward to seek
       the same from this Court and the District Court if the Setlement is approved.

       I s�ll am at a loss to understand how it was interpreted that the lawyers agreed to vacate
       District Court and Bankruptcy Court opinions. While I had thought that issue was
       succinctly addressed in the cited paragraph from the 9019 mo�on, I take full
       responsibility for not making it clearer in the mo�on and in my assistance to Lynn in the
       context of her declara�ons.
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       And even though seeking vacatur in the context of setlement is an acceptable prac�ce
       in the Alexandria Division (and in other courts around the country), we certainly
       understand now that it is perceived as unseemly and inappropriate in the Richmond
       Division.

       Lynn and I are happy to answer any addi�onal ques�ons you may have.

       Take care,

       Paula



As such, the Trustee respectfully submits that there was no evidence to support any factual

finding that the Trustee engaged in no research on the correctness of the agreement before

moving forward. The same is factually incorrect.

       Furthermore, the Trustee respectfully submits that she has never and would never

stipulate to a fact that is contrary to this Court’s rulings. In her July Declaration at Paragraph 15,

the Trustee further explained:

       As part of the proposed settlement, I will acknowledge in a letter certain asserted
       facts (as detailed in paragraph 15 of my June Declaration) that shall be used by
       Mr. LeClair only in connection with addressing his personal tax obligations with
       the Internal Revenue Service, state taxing authorities, and/or applicable tax or
       other court. There is a possibility that this Chapter 7 Case will be fully
       administered and closed before Mr. LeClair’s personal tax obligations are
       addressed. Under that scenario, corporate documents will have been destroyed
       and there will be no individual available to speak on behalf of the LeClairRyan
       Estate. The proposed side letter contains a recitation of undisputed facts that are
       relevant to Mr. LeClair and his personal tax obligations; put another way, the side
       letter contains undisputed facts upon which Mr. LeClair and I agree may be
       relevant to Mr. LeClair and his personal tax obligations. Just because other
       assertions are omitted from that letter does not mean that I have learned
       something that suggests I should change how I proceed. Any said omission
       merely means it is something that Mr. LeClair and I are unable to reach agreement
       on and/or he believes is not relevant to his personal tax obligations. I, as the
       Chapter 7 Trustee, remain committed and able, if necessary, to protect the
       Estate’s interests with all positions and supporting facts I have presented to this
       Court and the District Court.
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And, the August Memorandum states that the Trustee’s stipulations contradict the Court’s prior

rulings. The Trustee respectfully disagrees. The Stipulations are as follows:

 Stipulation                       Source of Stipulation        Notes
 Upon my appointment, I was        Trustee’s personal knowledge
 immediately faced with an
 audit by the Internal Revenue
 Service, additional tax filings
 on short turnaround, and
 questions about the Estate’s
 issuance of Schedule K-1s. In
 addressing these matters, I
 relied in good faith on the
 LeClairRyan, PLLC’s books
 and records.
                                   ECF 76 on File with this       January Memorandum
 I am aware that the               Court states:                  Opinion says:
 Dissolution Committee
 prepared a List of Equity         The Debtor submits that the    The ESH List should be dated
 Security Holders (the “ESH        individuals identified below   as of the bankruptcy Petition
 List”) as of July 29, 2019,       were the members of            Date, September 3, 2019 but
 and that said ESH List            LeClairRyan PLLC as of July    this does not change
 included Mr. LeClair.             29, 2019, which is the date    Appellants’ status.
                                   the members resolved to
                                   dissolve the firm:
                                                                  Trustee completely agrees
                                   Trustee also saw               with and is prepared to
                                   correspondence in the          support Court’s finding that
                                   Debtor’s books and records.    results as a date as of matter
                                                                  of law.
                                   ECF 1 at page 9-11 says
                                   Dissolution Committee is       Court’s finding does not
                                   authorized and empowered to    change the fact that the
                                   verify all necessary           Dissolution Committee
                                   documents for Bankruptcy       prepared it as of July 29,
                                   Filing                         2019




 Based on an analysis              Trustee’s understanding.       Says – Mr. LeClair’s analysis
 provided by Mr. LeClair, I                                       Says – Would
 understand that Mr. LeClair
 would no longer be a member                                      Does not say Trustee agrees
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 of LeClairRyan, PLLC as of                                         Does not contradict any
 July 31, 2019.                                                     finding of either the District
                                                                    Court or the Bankruptcy
                                                                    Court.
 The Estate has opted out of       Trustee’s first-hand
 the centralized audit regime      knowledge as signer of those
 pursuant to 26 U.S.C. §           returns
 6221(b) and 26 C.F.R. §
 301.6221(b)-1(a) in all
 requisite tax filings.
 I understand that the             Trustee’s understanding after
 Schedule K-1 allocation           discussions with accountants
 matters involve members of
 LeClairRyan, PLLC, that
 individual members may have
 conflicting positions with
 respect to such allocations,
 that the three year period for
 amending the Estate’s 2019
 tax returns has passed, and
 that there has been no
 definitive resolution of the
 Schedule K-1 allocation
 matters by the requisite
 taxing authorities. As such
 and based on current
 circumstances known to me, I
 intend to neither amend prior
 tax returns to change the
 Schedule K-1 allocations set
 forth in prior returns nor file
 future returns on a basis other
 than the Schedule K-1
 allocations set forth in such
 prior returns.


       For these reason, the Trustee is weighing the interests of the Estate in taking other action,

including but not limited to an appeal and/or motion to reconsider. The Trustee had not felt well

for a few days but continued to address matters in this Case given that the Trustee takes her

responsibilities extremely seriously and respects the bankruptcy process to which she has

devoted over 30 years of her legal career. Having extreme difficulty breathing, along with other
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problematic symptoms, the Trustee sought medical treatment during the afternoon of August 22,

2023. At approximately 5:00 p.m. on August 22, 2023, the Trustee was diagnosed as having

COVID with a superimposed bacterial infection. The Trustee was prescribed antibiotics and

ordered immediate bed rest. She was also advised to quarantine until August 25, 2023. The

Trustee is hopeful that her health will improve such that she can meet with counsel in person

over the weekend and discuss all. This would allow her, in the exercise of her business

judgement, to make an informed decision as to what is in the best interest of the Estate. The

Trustee will inform this Court of the same on or before August 28, 2023.



                           NOTIFICATION OF FOURTH CIRCUIT

       As required by the Fourth Circuit Court of Appeals, the parties have kept that Court

apprised of the status of this matter. Most recently, the parties filed a joint status report with the

Fourth Circuit Court of Appeals on August 15, 2023, before this Court issued its Memorandum

Order and Memorandum Opinion. At the time of filing that report, the parties intended to go

forward with a modified settlement of other matters that, while technically unrelated to the appeal,

were addressed and resolved as part of the confidential mediation discussions under Local Rule 33

conducted with the assistance of the Office of the Circuit Mediator, primarily Appellant’s proof

of claim pending in the Bankruptcy Court and Appellant’s entitled to no other distribution from

the Estate other than his pro rata share under 11 U.S.C. § 726(a)(2) of an allowed claim. But,

thereafter, the Trustee received this Court’s Memorandum Order and Memorandum Opinion. To

the extent the Trustee ultimately appeals and/or moves this Court to reconsider, the Trustee will so

inform the Fourth Circuit through a pleading filed on the docket at the Fourth Circuit. To the extent

that the Trustee determines, in the exercise of her business judgement that it is in the best interest
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of the Estate to forgo both an appeal and a motion to reconsider, and to instead move forward with

this Court’s revised settlement, the Trustee will report the same to the Fourth Circuit and expects

that a briefing schedule from the Fourth Circuit likely will follow.




         IMPLICATIONS OF WITHDRAWN REFERENCE ON REMAND ITEM

       This Court also asked the parties to address the implications of withdrawing the reference

on the pending remand to the Bankruptcy Court to correct the date of the ESH List to be

September 3, 2019. While this Court has withdrawn the reference regarding any claims of Gary

LeClair in the proposed settlement, and any other claims captured in the settlement agreement at

issue, the Trustee submits that this Court’s remand directive relates to matters of bankruptcy case

administration as opposed to Mr. LeClair’s claims. As such, once the Fourth Circuit has ruled on

the underlying appeal and does so in a manner that affirms this Court’s rulings, the Bankruptcy

Court should revise its earlier order as instructed by this Court with respect to the ESH List. In

addition, to the extent the Bankruptcy Court believed this Court’s directive also required some

type of modification to the actual ESH List on the Court’s docket, the Bankruptcy Court could

make a docket modification to the entry on 09/17/2019 at ECF No. 79 that currently reads: “List

of Equity Security Holders filed by Henry Pollard Long III of Hunton Andrews Kurth LLP on

behalf of LeClairRyan PLLC. (Long, Henry).” Said modification could be in the form of a

statement such as By operation of law, the date of the ESH List is September 3, 2019.”

                                         CONCLUSION

       Both the undersigned and the Trustee affirmatively declare that they never would

purposefully conduct themselves in a disrespectful manner to this Court and remain extremely

disheartened to hear that their actions have been construed as such. To be clear, they hold the
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federal judiciary in the highest regard. I Paula Beran and Lynn Tavenner, the Trustee, apologize

if our actions, which we continue to believe are grounded in sound law and principle, had the

unintended effect of offending any member of the judiciary in the Richmond Division of the

Eastern District of Virginia or beyond. To be sure, both Beran and Tavenner are working as

diligently as possible in their respective roles to ensure that all fiduciary actions are in the best

interests of the Estate and sanctioned by relevant rule of law. To that end, it is with the utmost

respect for the judiciary and the judicial process that we respond to the three specific items as

directed in the Memorandum Opinion.



        1.      Relating to the first directive to advise the Court as to the parties intent on

                moving forward with the proposed settlement absent the stricken provisions,

                the Trustee believes it could be beneficial to the interest of the bankruptcy estate

                to resolve the pending proof of claim filed by Mr. LeClair by way of seeking this

                Court’s approval of the settlement agreement as modified by this Court. But

                always striving to be forthright and candid with the Court and parties in interest,

                the Trustee also is weighing the interests of the estate in taking action, including

                but not limited to an appeal and/or motion to reconsider, as it relates to this

                Court’s August Memorandum and August Memorandum Opinion. As such, the

                Trustee is hopeful that she will be able to provide a definite answer to this

                Honorable Court on or before August 28, 2023 notwithstanding the same results

                in a substantially shorter period to decide whether to file a notice of appeal and/or

                motion to reconsider than is provided for in the requisite rules of procedure.

        2.      With respect to the Court’s concerns regarding the implications of the parties

                actions on the pending Fourth Circuit Appeal, the parties, as recently as August
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              15, 2023, have and will continue to keep the Fourth Circuit apprised of the status

              of all matters in the Bankruptcy Case that implicate the appeal. The Trustee

              anticipates, depending on her final decision regarding your Honor’s August

              Memorandum Order and August Memorandum Opinion, that the Fourth Circuit

              will either continue the Appeal in abeyance or will enter a scheduling order for

              briefing.

       3.     This Court also asked the parties to address the implications of withdrawing the

              reference on the pending remand to the Bankruptcy Court to amend its earlier

              order regarding the ESH List. While this Court has withdrawn the reference

              regarding any claims of Gary LeClair in the proposed settlement, and any

              other claims captured in the settlement agreement at issue, the Trustee

              submits that this Court’s remand directive relates to matters of bankruptcy

              case administration as opposed to Mr. LeClair’s claims and as such, once

              the Fourth Circuit has ruled on the underlying appeal, the Bankruptcy

              Court should revise its earlier order as instructed by this Court with

              respect to the ESH List.

The Trustee and the undersigned counsel will be present at the August 29, 2023 hearing and are

happy to address any matter the Court may have.
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Dated: August 24, 2023        Respectfully submitted,
Richmond, Virginia
                              LYNN L. TAVENNER, CHAPTER 7 TRUSTEE

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